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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

MICHAEL TODD,                                     )
                                                  )
                Plaintiff,                        )    Case No.: 1:22-cv-00066-JRS-MG
                                                  )
        vs.                                       )
                                                  )
CENTENE CORPORATION and                           )
COORDINATED CARE CORPORATION,                     )
                                                  )
                Defendants.                       )
                                                  )

                                  NOTICE OF SETTLEMENT

        Defendants Centene Corporation and Coordinated Care Corporation hereby notify this

Court, pursuant to Local Rule 7-1(h), that the parties have reached a settlement that has been

reduced to a written agreement that Plaintiff has signed. Defendants request this Court stay all

existing deadlines while the parties finalize the settlement and dismiss the case. Defendants

respectfully submit that the Court could require a written status report in the event the parties have

not dismissed this case within 30 days.

        Defendants provided a copy of this Notice to Plaintiff and Plaintiff approved Defendants

filing this Notice.

Dated: February 15, 2022                              Respectfully submitted,

                                                       /s/ P. Russell Perdew
                                                       P. Russell Perdew
                                                       Indiana Bar No. 22617-45
                                                       LOCKE LORD LLP
                                                       111 South Wacker Drive
                                                       Chicago, Illinois 60606
                                                       (312) 443-1712
                                                       rperdew@lockelord.com
                                                       Attorney for Defendants



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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of February 2022, a true and correct copy of

the foregoing was filed with the Clerk of the Court via the Electronic Filing System. A copy was

also served on that day via e-mail on:

               Michael Todd
               844 West Rosewood Drive
               Bloomington, IN 47404
               (812) 322-3563
               michael@todd204.com


                                                           /s/ P. Russell Perdew
                                                           P. Russell Perdew




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